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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

   EQUAL EMPLOYMENT                             )                Case No. 8:21-CV-369
   OPPORTUNITY COMMISSION,                      )
                                                )
                  Plaintiff,                    )           DEFENDANT’S MOTION TO
                                                )               DISMISS IN PART
           vs.                                  )             PLAINTIFF’S SECOND
                                                )            AMENDED COMPLAINT
   BNSF RAILWAY COMPANY,                        )
                                                )
                  Defendant.                    )

       Defendant BNSF Railway Company (“BNSF”) moves the Court to dismiss in part the

claims asserted in Plaintiff’s Second Amended Complaint. Fed. R. Civ. P. 12(b)(6). In particular,

BNSF seeks dismissal of all claims asserted by Plaintiff Equal Employment Opportunity

Commission (“EEOC”) on behalf of any individual other than Rena Merker. In support of this

motion, and pursuant to NECivR 7.1(a)(1)(A), BNSF has filed a supporting brief

contemporaneously with this motion.

       BNSF respectfully requests that the Court grant this motion and dismiss all claims asserted

by EEOC on behalf of any individual other than Rena Merker.
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   DATED this 13th day of May, 2022.

                                             BNSF Railway Company,
                                             Defendant

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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of May, 2022, I electronically filed the foregoing
Defendant’s Motion to Dismiss in Part Plaintiff’s Second Amended Complaint with the Clerk of
the Court using CM/ECF system which sent notification of such filing to the below registered
participants:

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                                            By:    /s/ Nichole S. Bogen
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